          Case 5:22-cv-00625-R Document 1 Filed 07/25/22 Page 1 of 51




                  IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF OKLAHOMA



(1)   CRYSTAL MARIE DANIELS,                                         )
                                                                     )
                                  Plaintiff,                         )
v.                                                                   )
                                                                     )
(1)   STATE OF OKLAHOMA, EX REL                                      ) Case No: CIV-22-625-R
      THE BOARD OF REGENTS OF THE                                    )
      UNIVERSITY OF OKLAHOMA; UNIVERSITY                             )
      HOSPITALS AUTHORITY & TRUST;                                   )
      UNIVERSITY OF OKLAHOMA HEALTH                                  )
      SCIENCES CENTER;                                               )
                                                                     )
(2)   DARRYL J. TILLER, (in his individual and official              )
      capacities) Director of Clinical Pastoral Education,           )
      University of Oklahoma Medical Center; and                     )
                                                                     )
(3)   OU MEDICINE, INC., an Oklahoma domestic                        )
      not-for-profit corporation,                                    )
                                                                     )
                                  Defendants.                        )


                                     COMPLAINT

      COMES NOW, the Plaintiff, Crystal Marie Daniels (“Plaintiff”) by and through

counsel of record, Kwame T. Mumina and Cynthia Rowe D’Antonio, of Green Johnson

Mumina and D’Antionio, and brings her Complaint and Claims For Relief against

Defendant, State of Oklahoma, et rel., Board Of Regents The of University of Oklahoma

(“University of Oklahoma”) and University Hospitals Authority and Trust, for violations

of Title IX of the Education Amendments of 1972, 20 U.S.C. § 1681 (Title IX); Plaintiff

also brings this action under 42 U.S.C. § 1983 (“1983”) against Defendant Darryl J. Tiller



                                               1
             Case 5:22-cv-00625-R Document 1 Filed 07/25/22 Page 2 of 51




(“Tiller”) in his individual capacity, for violations of Plaintiff’s right to equal protection,

as applicable to Plaintiff, based on the grounds of sex and race, while acting in his

individual capacity under color of law; Plaintiff asserts claims of status-based race

discrimination and retaliation pursuant to 42 U.S.C. § 1981 against the University of

Oklahoma; Pursuant to Title VI of the Civil Rights Act of 1964, 42. U.S.C. § 2000(d), et

seq., Plaintiff alleges violation of her civil rights based on racial discrimination and a

racially hostile and discriminatory environment at the University of Oklahoma; Plaintiff

asserts status-based race, sex and gender based discrimination, harassment and retaliation

and wrongful discharge against the University of Oklahoma and OU Medicine, Inc.,

pursuant to Title VII of the Civil Rights Act of 1964 (42 U.S.C. § 2000(e), et seq.); and

Plaintiff asserts ancillary state law claims of negligence based actions of Defendant Tiller.

       Among other factors, what makes this case so abhorrent and offensive, is that these

claims occurred not only within an educational setting; but under the umbrella of spiritual

faith, compassion and trust given to professionals who were endowed with a near sacred

obligation and expectation to conduct their affairs in the highest honor. That solemn

commitment and expectation of trust and fair play exposed Plaintiff to vulnerabilities

which Defendants exploited in total disregard of their own ethics and the law. Indeed,

Defendants allowed and even enabled its employee, Dr. Darryl J. Tiller, to violate and to

continue to violate those ethics and the laws despite having years of prior knowledge of his

unlawful conduct and behavior, to include racial animus, sexual and gender harassment,

explosive personal behavior, and tendencies to create a hostile environment for students

and staff.


                                              2
            Case 5:22-cv-00625-R Document 1 Filed 07/25/22 Page 3 of 51




       The severe, pervasive and objectively offensive racial discrimination, and sexual

harassment to which the Plaintiff was subjected, coupled with the Defendants’ deliberate

indifference and clearly unreasonable response to sexual and racial misconduct, caused the

Plaintiff to lose educational benefits and opportunities and to suffer emotional and other

damages. Defendants’ actions and deliberate indifference have caused lifelong injuries and

damages that Plaintiff has suffered and continues to suffer. Defendants were deliberately

indifferent to Dr. Tiller’s past misconduct; were deliberately indifferent to complaints from

Plaintiff and its own staff members regarding past and current misconduct of Dr. Tiller,

thus fostering a safe space for racial animus, sexual misconduct, and gender bias; all the

while allowing and empowering Dr. Tiller to confidently abuse his authority.

                                         PARTIES

       1.     Plaintiff, Crystal Marie Daniels (sometimes referred to as “Crystal”) is an

African-American female, and at all material times was a resident of the State of Oklahoma

and Oklahoma County. Crystal is a member of a protected class for purposes of her claims

asserted herein. Additionally, at all times material hereto, Crystal was invited to participate

in a summer internship with the Chaplaincy Program at the University of Oklahoma. She

later was accepted into a Residence Chaplain Program at the University of Oklahoma and

was enrolled as a student.

       2.     The University of Oklahoma, and its Health Sciences Center, is a

comprehensive university operating under the jurisdiction of the Board of Regents of The

University of Oklahoma (the Board of Regents) and the Oklahoma State Regents for

Higher Education, and is a government entity. At all relevant times the University of


                                              3
            Case 5:22-cv-00625-R Document 1 Filed 07/25/22 Page 4 of 51




Oklahoma operated within the State of Oklahoma and the Western District of the State of

Oklahoma. Due to its partnership, and other agency and contractual arrangements with OU

Medicine, Inc., the University of Oklahoma exercised control over OU Medicine, Inc.

       3.     Defendant University of Oklahoma receives federal funding and financial

assistance within the meaning of 20 U.S.C. § 1681(a) and is otherwise subject to Title IX.

       4.     Defendant Tiller, is a White male, and for all material times was a resident

of Oklahoma County. At all material times regarding the claims herein, Defendant Darryl

J. Tiller, D. Min., was the Director of Clinical Pastoral Education Pastoral Care Service, at

the University of Oklahoma.

       5.     On information and belief, for all material times, Defendant Tiller has been

a professor and instructor at the University of Oklahoma Medical Center for over fifteen

(15) years.

       6.     At all relevant times, Defendant Tiller was an employee of a publicly-funded

educational institution and was acting individually, while exploiting his governmental

authority and power, and violating and depriving Plaintiff of her constitutional rights.

       7.     Defendant OU Medicine, Inc., whose parent entity is the University

Hospitals Authority and Trust, and is an Oklahoma not-for-profit corporation. It is an agent,

representative and affiliate of Defendant, the University of Oklahoma, and does business

in Oklahoma County.       Defendants University of Oklahoma and OU Medicine, Inc.,

employs the requisite number of employees and is considered an “employer” for purposes

of Title VII of the Civil Rights Act of 1964 (42 U.S.C. § 2000(e), et seq.). Defendant OU




                                             4
             Case 5:22-cv-00625-R Document 1 Filed 07/25/22 Page 5 of 51




Medicine, Inc., may be served through its registered agent, CT Corporation System, 1833

South Morgan Road, Oklahoma City, Oklahoma, 73128.

                              JURISDICTION AND VENUE

       8.      This case arises under several laws of the United States, specifically Title IX

of the Education Amendments of 1972 (Title IX), 20 U.S.C. §§ 1681 et. seq.;42 U.S.C. §

1981; 42 U.S.C. § 1983, and Title VI and VII of the Civil Rights Act of 1964 (42. U.S.C.

§ 2000(d), et seq.) and (42 U.S.C. § 2000(e), et seq.).

       9.      For purposes of Plaintiff’s Title VI claims, the University of Oklahoma and

OU Medicine, Inc., are an “employer” as that term is defined by 42 U.S.C. § 2000e(b);

likewise, Crystal was an “employee” as that term is defined by 42 U.S.C. § 2000e(f).

       10.     This Court has jurisdiction in this matter pursuant to 28 U.S.C. §§ 1331, 1332,

and 1343; and supplemental jurisdiction of state law claims pursuant to 28 U.S.C. § 1367(b).

       11.     This Court is an appropriate venue for this cause of action pursuant to 28

U.S.C. § 1391. The Defendants are residents of the State in which this district is located

and all or a substantial part of the events or omissions giving rise to the claims being

asserted occurred in the Western District of Oklahoma.

                              ALLEGATIONS AND FACTS

       12.     Plaintiff, Crystal Marie Daniels, is an African American female.

       13.     Crystal began as a summer intern in a program at the University of Oklahoma

Medical Center as a part of its Chaplaincy Program during the late summer of 2020. The

Chaplaincy internship program is a steppingstone into the regular Chaplain Residency




                                               5
             Case 5:22-cv-00625-R Document 1 Filed 07/25/22 Page 6 of 51




Program at the University of Oklahoma, commonly referred to as Clinical Pastoral

Education or “CPE”.

       14.     Plaintiff’s major objective was to successfully complete the summer

internship and be selected as a Resident Chaplain, as part of her educational and career

goal of becoming a Chaplain, through the University of Oklahoma’s educational program.

       15.     During the latter part of her summer internship, Crystal returned from a visit

with her family and friend in Texas. One afternoon, while in a one-on-one evaluation

session with her Educator, Defendant Dr. Darryl J. Tiller began asking Plaintiff unusually

personal questions of a sexual nature.

       16.     For example, Dr. Tiller asked if she had “gotten her needs met” while away

for her visit in Texas. Initially startled at the inquiry, Plaintiff was unsure how to respond

and was baffled. She paused so as to wait for some sort of explanation from Dr. Tiller,

who continued to stare at her in a sexually suggestive manner.

       17.     After a few seconds, Dr. Tiller smiled excitedly at Crystal and made

unwanted sexual advances towards her that included extending his hands towards her to

invite contact, and moved his lips as if blowing several kisses at her. While standing, Dr.

Tiller then started moving his middle lower abdominal area in a circular motion as if

demonstrating sexual intercourse.

       18.     Crystal was stunned and befuddled at Dr. Tiller’s conduct and behavior, but

didn’t want to offend him for fear of damaging her educational and career goals. Although

she was signaling her discomfort, she found a way to politely decline Dr. Tiller’s unwanted

and uninvited sexual advancements. Dr. Tiller appeared to ignore her discomfort and


                                              6
             Case 5:22-cv-00625-R Document 1 Filed 07/25/22 Page 7 of 51




continued to smile curiously. Crystal just reluctantly smiled back as Dr. Tiller appeared to

be analyzing the situation, and eventually Crystal exited the room.

       19.     In the one-on-one weekly sessions that followed, Dr. Tiller continued his

sexual advances by hugging Crystal in an obviously sexual fashion, tightly caressing her

such that her breast pushed against his chest, and on at least one occasion she could sense

that Dr. Tiller had an erection as he hugged her and she observed a wet spot near his zipper.

       20.     The one-on-one sessions with Defendant Tiller frequently included questions

about Plaintiff’s personal and sexual life, whether she was involved with anyone, and

whether she had met anyone she was attracted to. Dr. Tiller often commented about her

appearance and her voice, and insisted that she share very personal stories with him.

       21.     Crystal was uncomfortable with Dr. Tiller’s behavior and conduct and did

not consent to the repeated physical contact, nor did she attempt to reciprocate the sexual

advances.

       22.     Crystal subjectively believed that unless she expressed something in the

nature of an air of indifference in her response to advances by Dr. Tiller, that her grades,

education and future career could be negatively impacted.

       23.     Under the totality of the circumstances, Crystal’s belief that her response

could impact her grades, career and success in the program was objectively reasonable.

       24.     As her current professor and educator, as well as being Director of the

Clinical Pastoral Education Program, Defendant Tiller had a position of power over Crystal

such that any sexual impositions by Defendant Tiller involved an inherent quid pro quo.




                                             7
               Case 5:22-cv-00625-R Document 1 Filed 07/25/22 Page 8 of 51




         25.     Following her internship, Crystal was accepted as a Pastoral Care Resident

Chaplain in the ACPE Program at the University of Oklahoma. Defendant Tiller was

serving as the Director of Clinical Pastoral Education and would be Crystal’s immediate

supervisor and educator, and would require frequent personal and group contact with

Crystal as she advanced through the program. Some of their one-on-one individual

sessions would be bi-weekly and included night sessions. They would eventually share

offices that were within only a few feet of each other.

         26.     The ACPE program consisted of two parts, including the Clinical and CPE

educational course work. The Clinical part entailed Crystal working with actual patients

in a hospital setting consisting of 300 hours per Unit. The CPE component is the academic

or educational part and consists of 100 hours per Unit, for a total of 400 hours per Unit.

Crystal was required to complete Four Units for her Residency Program for a total of 1600

hours.

         27.      Crystal’s Clinical work included being a paid employee at OU Medicine,

where she often worked twelve-hour shifts. The Clinical work was profound and stressful,

as her pastoral services were routinely with patients and families of the Trauma Emergency

Department at the OU Medical Center. Her intervention was often with families during

tragic moments where they were coping with horrific injuries.

         28.     During her Residency, Crystal would have an interchangeable move from

“Clinical” to “Education” that involved Monday one-on-one sessions with Defendant Tiller,

and then eventually twice a week meeting with him. She was also required to participate

in group class sessions with other students. During the individual sessions with Defendant


                                              8
             Case 5:22-cv-00625-R Document 1 Filed 07/25/22 Page 9 of 51




Tiller, Crystal continued to receive the sexual harassment and sexual overtures that she’d

experienced during her internship. Crystal continued to rebuff Defendant Tiller’s advances

and insisted that the sessions focus on her studies and academic performance. She would

politely and professionally attempt to neutralize the atmosphere during those sessions as

best she could. Her non-acceptance of Defendant Tiller’s advances began to trigger an

adverse reaction from him.

       29.     On or about January 11, 2021, as part of her academic requirement, Plaintiff

presented a verbatim that focused on the importance of showing empathy, compassion and

patience towards patients, but was targeted towards single mothers. During her presentation,

Dr. Tiller became irate and began verbally attacking Crystal, yelling that her verbatim did

not have a “learning goal”, and stating to Plaintiff “you have been in this CPE training

much longer than your peers and you should know what a learning goal is by now.” As

Crystal tried to explain and get a word in, Dr. Tiller’s attack became even more insulting,

and his rant became louder, commenting “Crystal, do you even know what your learning

goals are…Do you even know what the word goal means…Do you know what the word

intent and effect means…Do you know the definition of intent…Do you know what the

definition of effect means?”

       30.     At that point Defendant Tiller left the classroom and went to his office to

retrieve Crystal’s entire student file. He returned and began to read out loud his personal

notes to the class with the purpose of intentionally belittling Crystal. He then closed her

file and slammed it to the floor in the direction of the trash can, and continued to make

shameful comments about Crystal and her incompetency.


                                             9
          Case 5:22-cv-00625-R Document 1 Filed 07/25/22 Page 10 of 51




        31.   Later that evening, around 7:00 p.m., Crystal met with Defendant Tiller for

their one-on-one session in his office. Still in shock and humiliated over what had occurred

in class earlier that day, Crystal was in tears and could barely speak. Defendant Tiller

offered that he didn’t realize he’d done anything wrong and didn’t realize how sensitive

she was. He sought to allegedly comfort her giving tight hugs with his arms wrapped

entirely around her body.

        32.   In Crystal’s subsequent verbatim presentations, Defendant Tiller continued

his pattern of demeaning behavior towards Crystal. When she questioned his attacks on

her, Defendant Tiller would make a point of laughing at her, and made it clear to her and

the class that he was offended by Crystal “confronting him” and “calling him out” for his

behavior towards her.

        33.   During the verbatim sessions, other female peers of Crystal, such as Tonya

Forman, made comments about Defendant Tiller’s disparate treatment of Crystal in

particular and women in general.

        34.   Crystal was the only African American in Defendant Tiller’s class. Although

Defendant Tiller was brutal and cruel towards Crystal, for alleged deficiencies in her

classwork, he failed to point out the same or similar alleged deficiencies of other students’

work.

        35.   In one of the individual sessions between Crystal and Defendant Tiller, he

commented about her completing her Divinity degree. Defendant Tiller then proceeded to

mention a former African American student of his that was pursuing a Doctor of Divinity

degree at another school. Commenting to Crystal about the African American student, Dr.


                                             10
          Case 5:22-cv-00625-R Document 1 Filed 07/25/22 Page 11 of 51




Tiller emphasized that that student didn’t have the caliber, quality or character to carry the

title of having a Doctorate degree because he considered her “trash from the streets.” Then

he took a book that he had previously assigned for the class to read, and made direct

comments at Crystal to the effect that she “obviously had trouble pronouncing words” and

that she frequently “mispronounced words in class.” Defendant Tiller then continued to

badger Crystal, asking “do you have a problem with reading”….. “do you not see spelling

of words” … “your teachers have told you that you couldn’t learn, right….” and “have you

ever been diagnosed with dyslexia?”

       36.    During an individual session with Crystal around the first of February, 2021,

Defendant Tiller asked her “why would you want to carry or have a doctorates degree title

because when you open your mouth to read or speak you are going to embarrass yourself

and people will know that you can’t read….Do you really want to make yourself look like

a fool in front of people?” Once again, as was the pattern, after this sort of frontal attack

on Crystal, Dr. Tiller would offer his “comfort hugs.”

       37.    In another individual session with Defendant Tiller, during the same time

period, he attempted to convince Crystal that the indignation she was experiencing from

his previous conduct and behavior, was nothing more than her transferring her “childhood

shame” onto him; and that accusing him of wrongdoings was therefore misplaced emotions.

       38.    In late early February, 2021, Plaintiff was approached by Kent Kelso, Staff

Chaplain at University of Oklahoma, who recognized that she was visibly emotional, and

apparently shaken by the sum of events she’d been experiencing with Defendant Tiller. He

inquired of Plaintiff as to what was going on and Plaintiff briefly relayed some of the events


                                             11
          Case 5:22-cv-00625-R Document 1 Filed 07/25/22 Page 12 of 51




described above.

       39.    After a short discussion, Kent Kelso advised Plaintiff that she should

immediately talk with Danny Cavett, Director of Pastoral Care (“Cavett”) or Bob

Thompson, one of her supervisors.

       40.    Plaintiff arranged to talk with Mr. Cavett about the events and learned from

Mr. Cavett that apparently the University had years of previous complaints about

Defendant Tiller, and that his behavioral issues were well known. Despite confessing that

he not only had knowledge of Defendant Tiller’s past conduct, and never questioned the

events Plaintiff had detailed to him, yet Cavett was unmoved. At the conclusion of

Plaintiff’s meeting with Cavett, his question was suggestive: “Crystal, do you want to

complete this Program? If you do, then just go back to class and deal with it.” In light of

all that Cavett knew about Defendant Tiller, Plaintiff found it difficult to accept his

recommendation and shared his response with Kent Kelso, who apparently had discussed

the matter with Bob Thompson.        Kent Kelso advised he’d again approach Cavett,

recommending that Cavett follow proper protocol; and if he failed to do so, Mr. Kelso

threatened to intervene.

       41.    In early February, 2021, Cavett approached Plaintiff and suggested that she

contact Isaac Stine in the Human Resources Department. Cavett went on to reiterate events

of how Defendant Tiller had been known to have acted inappropriately on numerous

occasions before. He recited that Defendant Tiller’s conduct had been directed towards

both students and staff at the University of Oklahoma.




                                            12
         Case 5:22-cv-00625-R Document 1 Filed 07/25/22 Page 13 of 51




       42.    By early February, 2021, Crystal was close to completing her Third of the

Four Residency Units needed to graduate. She had already shared with Cavett her concerns

that if she filed a complaint against Defendant Tiller, he’d find a way to dismiss her from

the program. However, Cavett reassured her that a dismissal wasn’t going to happen and

that, in any event, she’d been doing an excellent job and had nothing to fear.

       43.    On February 4, 2021, Plaintiff reluctantly filed her formal grievance against

Defendant Tiller, but was embarrassed and ashamed to outline the entire scope and breadth

of events on paper as they had unfolded from the time of her internship. A copy of

Plaintiff’s Complaint is attached hereto and incorporated as Plt. Exb. No. 1.

       44.    The last group session Plaintiff had with Defendant Tiller proved to be most

alarming and exposed the racial animas embedded in Defendant Tiller. In that group class

session, as he’d previously done in one-on-ones with Plaintiff, Defendant Tiller expressed

his disdain for Blacks and other non-White people. He openly admitted that he believed

“Blacks were inferior to Whites” and justified his reasons by pointing out examples of

“Blacks not owing anything, homes, cars” and other important things of value.

       45.    In several of the previous individual sessions with Crystal, he often made

statements directed to her about Blacks being uneducated and that she should expect

abnormal reactions from Blacks in medical crises or death situations. Defendant Tiller

made a point of inquiring about Plaintiff’s family ethnicity and frequently asked Plaintiff

(and other group peers) if their patient’s families were Black and if so, whether they

appeared to be educated.




                                            13
         Case 5:22-cv-00625-R Document 1 Filed 07/25/22 Page 14 of 51




       46.    In another group setting, and again in an individual setting, Defendant Tiller

stated words to the effect that “the only people I grew up with and lived around were

Whites”. He added that over time he began to accept some Hispanics “because they looked

more like Whites.” He went on to explain that Hispanics were “welcome in his world, not

blacks” and that “Blacks were never welcome or accepted in his world.”

       47.    On or about February 15, 2021, Plaintiff had a one-on-one session with

Defendant Tiller at his office, and he immediately brought up the Complaint that she’d

filed against him. Dr. Tiller had also mentioned that he’d kept a gun in his car. Crystal

was nervous about this particular session and requested that Dr. Tiller keep his door open

as she recognized another Chaplain on duty at a nearby office. She refused to answer any

question Defendant Tiller raised about the Complaint. During the session, Defendant Tiller

began reading Plaintiff’s weekly progress notes that referenced the relationship between

the student and Educator (Defendant Tiller).

       48.    In her progress notes, Plaintiff had made reference to her relationship with

Defendant Tiller, noting that she was “learning to stand up for herself when I do not agree

with how I am being treated.” Defendant Tiller reading that portion of the notes out loud,

questioned why Crystal would write something like that in her notes, and wanted to know

what he had done to make her say “something like that.” When Crystal made an attempt

to explain, Defendant Tiller became defiant, stating [to Crystal] “You are incompetent….

you can barely read or understand this CPE program… I’m a professional and I’m telling

you that you are incompetent.”




                                            14
          Case 5:22-cv-00625-R Document 1 Filed 07/25/22 Page 15 of 51




       49.    When Crystal attempted to defend herself and object to Defendant Tiller’s

behavior and personal attacks, Defendant Tiller said that he would not meet with her again.

He told Plaintiff that she was not welcome back in class or Individual Supervision Sessions,

both of which were necessary for her to complete the CPE program.

       50.    During this same period, the internal investigation of Plaintiff’s complaint

about Defendant Tiller was on-going. From time-to-time, Cavett would caution Plaintiff

to not discuss what had occurred with Defendant Tiller with anyone else as he didn’t want

other hospital staff to know about those events.

       51.    As Plaintiff was barred from Class by Defendant Tiller, and it was

approaching time for final exams to complete the Unit, she began searching for alternative

educators of the interim CPE pool. On top of being stressed from continuing to work her

twelve-hour clinical shift, she was desperate to find a way to complete her classwork.

       52.    In mid to late February, 2021, Plaintiff spoke with Cavett who stated that he

had some discussions with Defendant Tiller about her returning to class to complete her

Unit. However, Defendant Tiller reaffirmed his decision to ban Crystal from class,

terminated her individual sessions, and refused to allow her to complete her Unit of CPE

or to enter her next and final CPE Unit. A copy of Defendant Tiller’s email directives are

attached hereto as Plaintiff’s Exb. No. 2.

       53.    However, in an apparent effort to coerce Crystal into modifying her

complaint against him, in exchange for being readmitted to class and completing her Third

CPE, Defendant Tiller sent suggestive emails to her implying that he had never done

anything wrong towards her and that he was her “first hero/champion.” That effort by


                                             15
          Case 5:22-cv-00625-R Document 1 Filed 07/25/22 Page 16 of 51




Defendant Tiller only contributed to Plaintiff’s stress and anxiety, causing her to request

that Human Resources direct Defendant Tiller to not communicate with her directly and

only go through Human Resources.

       54.    Plaintiff knew that Defendant Tiller may have the responsibility of grading

and doing an evaluation of her work, even if she were to return to class; and she questioned

his ability to be fair and impartial. All of the events had culminated in Crystal feeling scared,

intimidated, anxious, agitated, vulnerable and depressed, causing episodes of excessive

crying and restlessness for long periods. She had devolved into a state of insecurity over

not being able to complete her educational goals, and embarrassed to have been forced to

disclose very personal events of being victimized. Indeed, by the first quarter of the year,

Crystal had literally become frightened of Defendant Tiller.

       55.    Crystal began to relive being improperly hugged, sexually harassed and

exploited by Defendant Tiller. She couldn’t prevent the recalling of all of the unwanted

advancements he had made towards her and how offensive they were, coming from “a man

of God” and holding the important position that he did. The events had taken their toll on

Crystal as she became fearful and didn’t want to ever be touched again by anyone.

       56.    Crystal’s important life goal of becoming a Chaplain had been interrupted

and she was placed on a detour not of her own making, but by someone that she was

expected to trust and confide in. She faced the clear possibility of having to start over in

another CPE Residency Program, but because of Defendant Tiller’s conduct, her

confidence had been destroyed and she had been demoralized.




                                              16
          Case 5:22-cv-00625-R Document 1 Filed 07/25/22 Page 17 of 51




       57.    Prior to the end of the year 2021, Crystal had been prevented from

completing her class work or taking finals for her Third CPE Unit. The emotional distress,

from the myriad of events initiated by Defendant Tiller, had caused her emotional issues

that began to interfere with her employment, forcing her to constructively discharge herself,

resign and move away from Oklahoma.

       58.    She had lost everything she had dreamed of, including hundreds of clinical

and educational hours and CPE Units towards her Chaplaincy. She was forced to withdraw

from the University of Oklahoma Chaplaincy Residency program, and during the course

of events there, her dignity had been materially damaged.

       59.    Upon information and belief, Defendant Tiller has previously been involved

in unwelcomed sexual advances with other students, had complaints of sexual harassment

and bias, and had several complaints about his racial bigotry. Some of those incidents are

documented in records in the possession of the University of Oklahoma and have been

confirmed by current staff and former students under the tutelage of Defendant Tiller,

including Estela Reza.

       60.    On or about February 4, 2021, Plaintiff filed a formal complaint against

Defendant Tiller with the Association for Clinical Pastoral Education (ACPE), a governing

association of which the University of Oklahoma Medical Center is a member. A copy of

her complaint is attached hereto and incorporated by reference as Plt. Exb. No. 3.

       61.    Following her initial complaint, the ACPE undertook its investigation of the

events surrounding the matters raised by Plaintiff. The investigation covered a period of

approximately nine (9) months. On November 15, 2021, the ACPE investigators submitted


                                             17
            Case 5:22-cv-00625-R Document 1 Filed 07/25/22 Page 18 of 51




a final report. The observations of the Investigators concluded that Plaintiff had been hurt

and traumatized by the events they investigated; that Defendant Tiller was seemingly

oblivious to the seriousness of the events and charges against him; and that Tiller failed to

empathize with Plaintiff’s circumstances or experiences that had been created by his own

conduct and misbehavior. A copy of the Investigators’ Report is attached hereto as Plt. Exb.

No. 4.

         62.     On February 21, 2022, a Fact Finding/Hearing Panel was convened to

consider the ACPE/APC Ethics Complaint that Plaintiff had filed against Defendant Tiller.

After full deliberations and considering all the evidence, the Panel made the decision that

that Tiller had violated three (3) ethics codes, including prohibitions against:

         (i)     discrimination    based    on    race,   gender,    gender    expression,    age,

                 religious/spiritual tradition, national origin, sexual orientation, or disability;

         (ii)    respecting the integrity and welfare of those served or supervised, and

                 refraining from disparagement and emotional exploitation, and sexual

                 exploitation, or any other kind of exploitation;

         (iii)   Failing to approach the religious convictions of a person, group, and/or CPE

                 student with respect and sensitivity.

         63.     As a result of the Panel’s decision of several violations, the Panel voted to

sanction Defendant Tiller with suspension. A copy of the ACPE/APC Ethics Panel

Minutes & Deliberation Summary is attached hereto and incorporated by reference as Plt.

Exb. No. 5.




                                                 18
          Case 5:22-cv-00625-R Document 1 Filed 07/25/22 Page 19 of 51




       64.    Apparently, the University of Oklahoma has failed to conduct its own

independent internal investigation of Defendant Tiller.

       65.    On or about March 25, 2021, Plaintiff made the initial contact with the Equal

Employment Opportunity Commission (EEOC) regarding her claims against the

Defendants. Her charge of discrimination was filed on November 18, 2021. A true and

correct copy the Charge of Discrimination is attached hereto and incorporated by reference

as Plt. Exb. No.6.

       66.    On April 27, 2022, the EEOC issued its Determination and Notice of Right

To Sue. Plaintiff, having exhausted her administrative remedies, brings all appropriate

actions within the statutory time period. A true and correct copy of Plaintiff’s Right To Sue

Letter is attached hereto and incorporated by reference as Plt. Exb. No. 7.

       67.    On information and belief, Defendant Tiller was finally terminated by the

University of Oklahoma on or about May 15, 2021.

       68.    For the entire period of his long tenure with the University of Oklahoma, up

through his termination, the University of Oklahoma had remained deliberately indifferent

to the allegations of Defendant Tiller’s racial animas, sexual aggression and other

behaviors, even though the allegations were severe, widely known, and likely factual.

       69.    Indeed, the University of Oklahoma’s tolerance for Defendant Tiller’s

conduct and behavior was not only deliberately indifferent to the concerns of Plaintiff and

other students and staff, but created a safe zone for his various abuses, including sexual

misconduct, racist proclamations, and overall abhorrent behavior.




                                             19
            Case 5:22-cv-00625-R Document 1 Filed 07/25/22 Page 20 of 51




       70.     Had the University of Oklahoma properly addressed Defendant Tiller’s

repulsive conduct and behavior, Plaintiff would not have been the victim to the life-

changing events that are the subject matter of this lawsuit.

       71.     The many years of the University of Oklahoma’s deliberate indifference

towards Defendant Tiller’s misconduct is clearly unreasonable.

       72.     It is also clearly unreasonable that even after Plaintiff alerted the University

of Oklahoma of Defendant Tiller’s conduct towards her, he was allowed to remain

employed at the school for several months.

                              FIRST CLAIM FOR RELIEF
               (Against the University Of Oklahoma and OU Medicine, Inc.)
                 [Deliberate Indifference Resulting in Sexual Harassment]
                  (Strict Liability, Quid Pro Quo) in Violation of Title IX

       73.     Plaintiff re-alleges each and every prior paragraph of the Complaint as if fully

set out here and further alleges as follows.

       74.     At all relevant times, Defendants the University of Oklahoma and its agent,

OU Medicine, Inc., directly or indirectly received federal funding and assistance.

       75.     Crystal was subjected to sexual harassment and unwanted sexual contact

that was so severe, pervasive, and/or objectively offensive that it deprived her of access to

educational opportunities and benefits.

       76.     The U.S. Department of Education Office for Civil Rights has established

criteria to determine if a school or university that receives public funds is strictly liable for

allowing quid pro quo sexual harassment. Their guidelines state:

       a.      “Schools are responsible for taking prompt and effective action to stop the



                                               20
     Case 5:22-cv-00625-R Document 1 Filed 07/25/22 Page 21 of 51




        harassment and prevent its recurrence.”

b.      “If an employee who is acting (or who reasonably appears to be acting) in

        the context of carrying out these responsibilities over students engages in

        sexual harassment – generally this means harassment that is carried out

        during an employee’s performance of his or her responsibilities in relation to

        students, including teaching, counseling, supervising, advising, and

        transporting students –and the harassment denies or limits a student’s ability

        to participate in or benefit from a school program on the basis of sex, the

        recipient is responsible for the discriminatory conduct.”

c.      “If an employee conditions the provision of an aid, benefit, or service that

        the employee is responsible for providing on a student’s submission to sexual

        conduct, i.e., conduct traditionally referred to as quid pro quo harassment,

        the harassment is clearly taking place in the context of the employee’s

        responsibilities to provide aid, benefits, or services.

d.      Sometimes harassment of a student by an employee in the school’s program

        does not take place in the context of the employee’s provision of aid, benefits,

        or services, but nevertheless is sufficiently serious to create a hostile

        educational environment. An example of this conduct might occur if a faculty

        member in the history department at a university, over the course of several

        weeks, repeatedly touches and makes sexually suggestive remarks to a

        graduate engineering student while waiting at a stop for the university shuttle

        bus, riding on the bus, and upon exiting the bus. As a result, the student stops


                                        21
            Case 5:22-cv-00625-R Document 1 Filed 07/25/22 Page 22 of 51




               using the campus shuttle and walks the very long distances between her

               classes. In this case, the school is not directly responsible for the harassing

               conduct because it did not occur in the context of the employee’s

               responsibilities for the provision of aid, benefits, or services to students.

               However, the conduct is sufficiently serious to deny or limit the student in

               her ability to participate in or benefit from the recipient’s program. Thus, the

               school has a duty, upon notice of the harassment, to take prompt and effective

               action to stop the harassment and prevent its recurrence.

       e.      If the school takes these steps, it has avoided violating Title IX. If the school

               fails to take the necessary steps, however, its failure to act has allowed the

               student to continue to be subjected to a hostile environment that denies or

               limits the student’s ability to participate in or benefit from the school’s

               program. The school, therefore, has engaged in its own discrimination. It then

               becomes responsible, not just for stopping the conduct and preventing it from

               happening again, but for remedying the effects of the harassment on the

               student that could reasonably have been prevented if the school had

               responded promptly and effectively.

       77.     Long before February 4, 2021, the University of Oklahoma had actual

knowledge of sexual harassment and misconduct committed by Defendant Tiller.

       78.     Long before February 4, 2021, the University of Oklahoma had actual

knowledge of the quid pro quo risks inherent in sexual relationships between Defendant

Tiller and students.


                                              22
            Case 5:22-cv-00625-R Document 1 Filed 07/25/22 Page 23 of 51




       79.     Long before February 4, 2021, the University of Oklahoma knew or should

have known that Defendant Tiller had previous sexual relationships with students.

       80.     The sexual harassment committed by Defendant Tiller against Plaintiff was

committed while he was acting as an employee of Defendant, the University of Oklahoma

and in conjunction with its services to OU Medicine, Inc.

       81.     Indeed, the University of Oklahoma had actual knowledge of sexual

harassment complaints against Defendant Tiller, as alleged by Plaintiff and other female

students.

       82.     Defendant University of Oklahoma’s response to previous reports regarding

Defendant Tiller was deliberately indifferent, insofar as the response or lack thereof was

clearly unreasonable in light of the known circumstances.

       83.     Defendant Tiller engaged in quid pro quo sexual harassment of Plaintiff.

Defendant Tiller knew or should have known that Plaintiff was extremely vulnerable to his

advancements due to the student-faculty relationship, and his exclusive ability to alter and

jeopardize Plaintiff’s educational process if she failed to accept his advances or complain

about them.

       84.     The University of Oklahoma’s deliberate indifference to Defendant Tiller’s

conduct, as described herein, was malicious, oppressive, or in reckless disregard of

Plaintiff’s rights such that punitive damages are appropriate.

       85.     As a result of the foregoing allegations, Plaintiff, Crystal M. Daniels,

suffered extensive damage, injury and distress for which she should be compensated in an

amount in excess of Three Hundred Thousand Dollars ($300,000.00).


                                             23
            Case 5:22-cv-00625-R Document 1 Filed 07/25/22 Page 24 of 51




                             SECOND CLAIM FOR RELIEF
                (Against the University Of Oklahoma and OU Medicine, Inc.)
                  [Deliberate Indifference Resulting in Sexual Harassment]
                    (Unwanted Sexual Contact in Violation of Title IX)

          86.   Plaintiff re-alleges each and every prior paragraph of the Complaint as if fully

set out here and further alleges as follows.

          87.   At all relevant times, the University of Oklahoma received federal funding

and assistance.

          88.   Plaintiff was subjected to sexual contact that was so severe, pervasive, and/or

objectively offensive that it deprived her of access to educational opportunities and benefits.

          89.   The physical contact committed by Defendant Tiller was committed while

he was a professor and an employee of the University of Oklahoma.

          90.   Defendant Tiller has engaged in a pattern of exploiting females who are

subordinate to Defendant Tiller by virtue of their student status or their junior employment

status.

          91.   The University of Oklahoma had previously received several complaints

from students that revealed substantiated instances where Defendant Tiller engaged in the

same or similar forms of discrimination and misconduct as complained of here by Plaintiff.

          92.   The physical contact that Defendant Tiller made with Plaintiff was

intentional contact and included unwelcomed hugging of a sexual nature, and acts

indicating unwelcomed apprehension of sexual contact, in which Plaintiff sensed

Defendant Tiller’s erect penis against her.




                                               24
             Case 5:22-cv-00625-R Document 1 Filed 07/25/22 Page 25 of 51




       93.      Given the extent of this physical touching, the proximity and locations on

Plaintiff body touched by Defendant Tiller, and the manner of the touching by Defendant

Tiller, it was sexual in nature.

       94.      Plaintiff did not consent to Defendant Tiller’s touching her in a sexual

manner.

       95.      Defendant Tiller was in a direct supervisory and evaluative role over Plaintiff

for all material times regarding the claims alleged.

       96.      Defendant Tiller was the instructor of record for the overall course,

evaluation, one-on-one personal sessions and had the authority to submit final grades for

Plaintiff.

       97.      Defendant Tiller engaged in multiple instances of non-consensual sexual

contact with Plaintiff.

       98.      On information and belief, the non-consensual physical contact violated

applicable school policies of the University of Oklahoma.

       99.      The University of Oklahoma’s response to previous reports regarding

Defendant Tiller’s conduct was deliberately indifferent, insofar as the response or lack

thereof was clearly unreasonable in light of the known circumstances.

       100.     Prior to February 4, 2021, the University of Oklahoma had notice of sexual

misconduct within the Department of Clinical Pastoral Education.

       101.     Prior to February 4, 2021, the University of Oklahoma had notice of

allegations of prior sexual misconduct between Defendant Tiller and students.




                                               25
          Case 5:22-cv-00625-R Document 1 Filed 07/25/22 Page 26 of 51




        102.   The standard for deliberate indifference in matters of sexual harassment has

been recognized by prior case law in this circuit, including Sh. A., ex rel. J.A. v. Tucumcari

Mun. Schools, 321 F.3d 1285, 1288 (10th Cir. 2003) and Johnson v. Martin, 195 F.3d

1208, 1216 (10th Cir. 1999).

        103.   Prior to February 4, 2021, the University of Oklahoma was deliberately

indifferent to sexual misconduct within the Department of Clinical Pastoral Education and

its deliberate indifference was clearly unreasonable.

        104.   The University of Oklahoma’s conduct as described herein was malicious,

oppressive, or in reckless disregard of Plaintiff’s rights such that punitive damages are

appropriate.

        105.   As a result of the foregoing allegations, Plaintiff, Crystal M. Daniels,

suffered extensive damage, injury and distress for which she should be compensated in an

amount in excess of Three Hundred Thousand Dollars ($300,000.00).

                             THIRD CLAIM FOR RELIEF
               (Against the University Of Oklahoma and OU Medicine, Inc.)
                 [Deliberate Indifference Resulting in Sexual Harassment]
                          (Quid Pro Quo in Violation of Title IX)

        106.   Plaintiff re-alleges all prior paragraphs of the Complaint as if set out here in

full.

        107.   At all relevant times, the University of Oklahoma received federal funding

and assistance.

        108.   Plaintiff was subjected to sexual harassment and unwanted sexual contact

that was so severe, pervasive, and/or objectively offensive that it deprived her of access to



                                              26
            Case 5:22-cv-00625-R Document 1 Filed 07/25/22 Page 27 of 51




educational opportunities and benefits.

          109.   Before February 4, 2021, the University of Oklahoma had actual knowledge

of sexual harassment and misconduct committed by Defendant Tiller.

          110.   Before February 4, 2021, the University of Oklahoma had actual knowledge

of the quid pro quo risks inherent in sexual relationships between faculty and students.

          111.   Before February 4, 2021, the University of Oklahoma knew or should have

known that Defendant Tiller had engaged in previous sexual harassment and relationships

with students.

          112.   The sexual harassment committed by Defendant Tiller against Plaintiff was

committed while he was acting as an employee of the University of Oklahoma and after

the University had actual knowledge of sexual harassment complaints against Defendant

Tiller.

          113.   The University of Oklahoma’s response to previous reports regarding

Defendant Tiller’s conduct was deliberately indifferent, insofar as the response or lack

thereof was clearly unreasonable in light of the known circumstances.

          114.   Defendant Tiller engaged in quid pro quo sexual harassment of Plaintiff and

Defendant Tiller was well aware of the circumstances of the parties’ relationship at the

time of the harassment.

          115.   Defendant Tiller’s harassment of Plaintiff included physical, verbal or

demonstrative conduct of a sexual nature that was unwelcomed and sufficiently severe or

pervasive such that, from both a subjective and an objective viewpoint, it would appear

that:


                                              27
            Case 5:22-cv-00625-R Document 1 Filed 07/25/22 Page 28 of 51




       a.       Submission to the conduct was either explicitly or implicitly a term or

condition of her employment or academic status;

       b.       Submission to or rejection of such conduct could be used as the basis for

employment or academic decisions affecting her; or

       c.       Such conduct had the purpose or effect of unreasonably interfering with her

work, performance, or education experience; or of creating an intimidating, hostile, or

offensive environment for work or learning.

       116.     At all times pertinent to Defendant Tiller’s misconduct, Plaintiff was a new

participant in a summer internship program, required to participate in one-on-one

interviews with Defendant Tiller, take part in group class discussion supervised by

Defendant Tiller, and during such periods where Defendant Tiller was in the process of

assigning grades that would impact Plaintiff’s completion of Units to fulfill graduation

requirements.

       117.     It was reasonable for Plaintiff to believe that her grade, academic status, and

other academic benefits were conditioned on submitting to Defendant Tiller’s touching her

in a sexual nature.

       118.     A reasonable person under these same circumstances could similarly believe

that their grade and academic status were conditioned on submitting to Defendant Tiller’s

touching in a sexual nature.

       119.     Defendant Tiller’s conduct meets both the subjective and objective standards

of severity required to establish quid pro quo sexual harassment.




                                               28
          Case 5:22-cv-00625-R Document 1 Filed 07/25/22 Page 29 of 51




        120.   The power differential described herein would be inherent in any

professor/student relationship within the Department of Clinical Pastoral Education, and

Defendant Tiller has for more than fifteen (15) years knowingly exploited his power

differential over female students in order to carry on sexually oppressive behavior towards

them.

        121.   The University of Oklahoma’s deliberate indifference to Defendant Tiller’s

conduct as described herein was malicious, oppressive, or in reckless disregard of

Plaintiff’s rights such that punitive damages are appropriate.

        122.   As a result of the foregoing allegations, Plaintiff, Crystal M. Daniels,

suffered extensive damage, injury and distress for which she should be compensated in an

amount in excess of Three Hundred Thousand Dollars ($300,000.00).

                            FOURTH CLAIM FOR RELIEF
              (Against the University Of Oklahoma and OU Medicine, Inc.)
    [Deliberate Indifference Resulting in Hostile Environment in Violation of Title IX]

        123.   Plaintiff re-alleges all prior paragraphs of the Complaint as if set out here in

full.

        124.   The physical and verbal conduct by Defendant Tiller was of a sexual nature

and was unwelcomed and sufficiently severe or pervasive from both a subjective and

objective viewpoint such that the conduct had the purpose or effect of unreasonably

interfering with Plaintiff’s work or academic performance, or creating an intimidating,

hostile, or offensive environment for working and learning.

        125.   The environment created from the conduct of Defendant Tiller was hostile

based on the circumstances, including but not limited to the frequency of the conduct, the


                                              29
          Case 5:22-cv-00625-R Document 1 Filed 07/25/22 Page 30 of 51




nature and severity of the conduct, the relationship between the parties, the location and

context in which the conduct occurred, and the physically threatening and humiliating

nature of the conduct.

       126.   On information and belief, the conduct by Defendant Tiller violated

applicable policies of the University of Oklahoma.

       127.   The University of Oklahoma, by and through its employees, including but

not limited to Defendant Tiller, had notice of the history of sexual misconduct and

harassment within the department and were, prior to February 4, 2021 and after February

4, 2021, deliberately indifferent to Plaintiff’s well-being.

       128.   The University of Oklahoma’s response to previous reports regarding

Defendant Tiller’s behavior was deliberately indifferent.

       129.   The University of Oklahoma’s response to known risks of Defendant Tiller’s

behavior prior to February 4, 2021 was clearly unreasonable in light of the known

circumstances.

       130.   The University of Oklahoma’s response to the events as described in

Plaintiff’s complaint in February, 2021, and complaints to other staff at the University of

Oklahoma, also created a hostile environment.

       131.   Indeed, after Plaintiff lodged her complaint, Plaintiff was subjected to verbal

abuse, humiliation and harassment within the Department of Clinical Pastoral Education

that was so severe, pervasive and objectively offensive that she was denied access to

educational opportunities and benefits. Indeed, Plaintiff’s fear of not being permitted to

complete her education, after the incidents and making of her complaint, were borne out


                                              30
            Case 5:22-cv-00625-R Document 1 Filed 07/25/22 Page 31 of 51




by acts and conduct of Defendant Tiller which apparently were sanctioned by the

University of Oklahoma.

       132.    During the course of events complained of here, Plaintiff’s office was in

close proximity to Defendant Tiller’s office; and Plaintiff was forced to take measures to

defend against the conduct of Defendant Tiller, including efforts to avoid coming in contact

with him.

       133.    Additionally, the almost year-long investigation that was underway

regarding Defendant Tiller’s behavior and conduct weighed on Plaintiff heavily; and

Defendant Tiller’s conduct has interfered with both Plaintiff’s academic and work

performance.

       134.    As a result of the University of Oklahoma’s deliberate indifference, Plaintiff

has lost valuable educational opportunities, had to forfeit the Units of CPE accumulated,

and otherwise has lost educational opportunities and benefits at the University.

       135.    This conduct described herein constitutes multiple instances of a hostile

environment in violation of Title IX.

       136.    The University of Oklahoma’s deliberate indifference to Defendant Tiller’s

conduct as described herein was malicious, oppressive, or in reckless disregard of

Plaintiff’s rights such that punitive damages are appropriate.

       137.    As a result of the foregoing allegations, Plaintiff, Crystal M. Daniels,

suffered extensive damage, injury and distress for which she should be compensated in an

amount in excess of Three Hundred Thousand Dollars ($300,000.00).




                                             31
             Case 5:22-cv-00625-R Document 1 Filed 07/25/22 Page 32 of 51




                               FIFTH CLAIM FOR RELIEF
                (Against the University Of Oklahoma and OU Medicine, Inc.)
                  [Deliberate Indifference Resulting in Sexual Harassment]

        138.    Plaintiff re-alleges all prior paragraphs of the Complaint as if set out here in

full.

        139.    The sex-based harassment described in the Plaintiff’s General Allegations

was so severe, pervasive, and objectively offensive that it deprives Plaintiff of access to

educational opportunities or benefits provided by the University of Oklahoma.

        140.    Defendant University of Oklahoma created and/or subjected Plaintiff to a

hostile educational environment in violation of Title IX of the Education Amendments of

1972, 20 U.S.C. § 1681(a) (“Title IX”), because:

        a.      Plaintiff was a member of a protected class;

        b.      Plaintiff was subjected to sexual harassment in the form of unwanted sexual

contact by a Professor;

        c.      Plaintiff was subjected to harassment based on her sex; and

        d.      Plaintiff was subjected to a hostile educational environment created by the

University of Oklahoma’s lack of policies and procedures, and failure to properly

investigate and/or address the unwanted sexual contact and subsequent harassment.

        141.    Defendant University and its officials had received actual notice of

Defendant Tiller’s misconduct on other occasions, as reported by students enrolled in CPE

courses in which Defendant Tiller was the professor, yet failed to investigate and discipline

Defendant Tiller in a timely and consistent manner within its own policy, and federal and

state law.


                                               32
          Case 5:22-cv-00625-R Document 1 Filed 07/25/22 Page 33 of 51




       142.   The University of Oklahoma’s failure to promptly and appropriately respond

to the actual notice of sexual harassment and misconduct by Defendant Tiller, resulted in

Plaintiff being denied her educational opportunities and benefits in violation of Title IX,

on the basis of her sex.

       143.   The University of Oklahoma failed to take immediate, effective, and

remedial steps to investigate and respond to the notice it received of Defendant Tiller’s

prior sexual harassment, and instead acted with deliberate indifference towards those

complaints and towards Plaintiff.

       144.   The University of Oklahoma engaged in a pattern and practice of behavior

designed to avoid taking responsibility for, and responding to Defendant Tiller’s known

sexual misconduct.

       145.   The University of Oklahoma knew that Defendant Tiller was unfit to teach

at the University of Oklahoma because he consistently sexually harassed members of the

student body, including Plaintiff.

       146.   The University of Oklahoma’s deliberate indifference was clearly

unreasonable and its policy and/or practice constituted disparate treatment of females and

had a disparate impact on female students, including Plaintiff.

       147.   Plaintiff has suffered emotional distress and psychological damage and other

damages, and her character and standing in her community and education have suffered

from the harassment fostered as a direct and proximate result of the University of

Oklahoma’s deliberate indifference to her rights under Title IX.




                                            33
             Case 5:22-cv-00625-R Document 1 Filed 07/25/22 Page 34 of 51




           148.   The University of Oklahoma’s deliberate indifference to Defendant Tiller’s

conduct, as described herein, was malicious, oppressive, or in reckless disregard of

Plaintiff’s rights such that punitive damages are appropriate.

           149.   As a result of the foregoing allegations, Plaintiff, Crystal M. Daniels,

suffered extensive damage, injury and distress for which she should be compensated in an

amount in excess of Three Hundred Thousand Dollars ($300,000.00).

                           SIXTH CLAIM FOR RELIEF
                  (Against Darryl Tiller In His Individual Capacity)
  [Sexual Harassment in Violation of Fourteenth Amendment of the Constitution of the
                United States of America Pursuant to 42 U.S.C. § 1983]

           150.   Plaintiff re-alleges all prior paragraphs of the Complaint as if set out here

in full.

           151.   Under the Fourteenth Amendment, Plaintiff had the right as a public

university student to personal security and bodily integrity and Equal Protection of Laws.

           152.   Defendant Tiller sexually harassed Plaintiff while he was a state actor

acting in his individual capacity, under the color of state law.

           153.   Defendant Tiller subjected Plaintiff to violations of her right to personal

security, bodily integrity, and Equal Protection of Laws, by subjecting her to egregious

sexual harassment during her summer internship with the University of Oklahoma. These

violations also occurred during one-on-one interview sessions, as part and parcel of the

teaching program for Clinical Pastoral Education.

           154.   Defendant Tiller subjected Plaintiff to sexual harassment and unwanted

sexual contact that was so severe and objectively offensive that it violated Plaintiff’s



                                                 34
          Case 5:22-cv-00625-R Document 1 Filed 07/25/22 Page 35 of 51




constitutional rights.

       155.   The physical contact that Defendant Tiller made with Plaintiff was

intentional contact and included: hugging in a clearly sexual manner, such that Defendant

Tiller intended to make contact with Plaintiff’s breast; and was of such proximity that

Plaintiff could feel Tiller’s erect penis against her. Given the extent of this physical

touching, the locations on Plaintiff’s body that was touched by Defendant Tiller, and the

manner of the touching by Defendant Tiller, was clearly of a sexual nature.

       156.   Plaintiff did not consent to Defendant Tiller’s touching her in a sexual

manner.

       157.   Defendant Tiller was in a direct supervisory and evaluative role over Plaintiff

during all material times complained of in this action.

       158.   Defendant Tiller was the instructor of record for the overall course, the one-

on-one interviews, and evaluations of Plaintiff. He was also the Professor that submitted

final grades for all students, including Plaintiff.

       159.   Defendant Tiller engaged in multiple instances of non-consensual sexual

contact with Plaintiff during the course of her summer internship and Residency at the

University of Oklahoma.

       160.   Defendant Tiller’s conduct constituted disparate treatment of females and

had a disparate impact on female students. Defendant Tiller was known to have engaged

the harassment of at least two other female students, prior to the incidents complained of

here by Plaintiff.




                                               35
          Case 5:22-cv-00625-R Document 1 Filed 07/25/22 Page 36 of 51




        161.   Plaintiff has had her academic life and standing disrupted, and has personally

suffered emotional and psychological distress, all as a direct and proximate result of

Defendant Tiller’s sexual harassment.

        162.   Defendant Tiller’s conduct, as described herein, violated Plaintiff’s clearly

established constitutional rights of which a reasonable person would have known.

        163.   Defendant Tiller’s conduct, as described herein, was malicious, oppressive,

or in reckless disregard of Plaintiff’s rights such that punitive damages are appropriate.

        164.   As a result of the foregoing, Plaintiff suffered extensive damages for which

monetary compensation is due.

                           SEVENTH CLAIM FOR RELIEF
                    (Against Darryl Tiller In His Individual Capacity)
    [Sexual Harassment (Quid Pro Quo) in Violation of Fourteenth Amendment of the
       Constitution of the United States of America Pursuant to 42 U.S.C. § 1983]

        165.   Plaintiff re-alleges all prior paragraphs of the Complaint as if set out here in

full.

        166.   Under the Fourteenth Amendment, Plaintiff had the right as a public

university student to personal security, bodily integrity, and Equal Protection of Laws.

        167.   Defendant Tiller sexually harassed Plaintiff while he was a state actor acting

in his individual capacity, under the color of state law.

        168.   Defendant Tiller subjected Plaintiff to sexual harassment and unwanted

sexual contact that was so severe and objectively offensive that it violated Plaintiff’s

constitutional rights.




                                              36
            Case 5:22-cv-00625-R Document 1 Filed 07/25/22 Page 37 of 51




       169.    Defendant Tiller engaged in quid pro quo sexual harassment of Plaintiff in

connection with her academic studies while at the University of Oklahoma.

       170.    Defendant Tiller’s harassment of Plaintiff included physical or verbal

conduct of a sexual nature that was unwelcomed and sufficiently severe or pervasive, such

that, from both a subjective and an objective viewpoint, it would appear that:

       a.      Submission to the conduct was either explicitly or implicitly a term or

condition of her employment or academic status;

       b.      Submission to or rejection of such conduct could be used as the basis for

employment or academic decisions affecting her; or

       c.      Such conduct had the purpose or effect of unreasonably interfering with her

work, performance, or education experience; or of creating an intimidating, hostile, or

offensive environment for work or learning.

       171.    During both the course of Plaintiff’s internship and academic one-on-one

interviews, Defendant Tiller’s actions of insisting on repeatedly touching Plaintiff,

accentuated the power differential between the parties. Defendant Tiller’s conduct also

demonstrates that Defendant Tiller was not afraid to exploit the power differential to pursue

sexual contact with Plaintiff.

       172.    From the period of Plaintiff’s summer internship through her Residency at

the University of Oklahoma, Defendant had not yet made decisions affecting Plaintiff’s

academic progress or assigned grades for the coursework being undertaken by Plaintiff.

       173.    It was reasonable for Plaintiff to believe that her grade and academic status

was conditioned on submitting to Defendant Tiller’s touching her in a sexual nature.


                                             37
          Case 5:22-cv-00625-R Document 1 Filed 07/25/22 Page 38 of 51




        174.   A reasonable person under these same circumstances could similarly believe

that their grade and academic status was conditioned on submitting to Defendant Tiller’s

touching in a sexual nature.

        175.   Defendant Tiller’s conduct meets both the subjective and objective standards

of severity required to establish quid pro quo sexual harassment.

        176.   Defendant Tiller’s conduct, as described herein, violated Plaintiff’s clearly

established constitutional rights of which a reasonable person would have known.

        177.   Defendant Tiller’s conduct, as described herein, was malicious, oppressive,

or in reckless disregard of Plaintiff’s rights such that punitive damages are appropriate.

        178.   As a result of the foregoing, Plaintiff suffered extensive damages for which

monetary compensation is due.

                          EIGHTH CLAIM FOR RELIEF
                  (Against Darryl Tiller In His Individual Capacity)
 [Hostile Environment in Violation of Fourteenth Amendment of the Constitution of the
                United States of America Pursuant to 42 U.S.C. § 1983]

        179.   Plaintiff re-alleges all prior paragraphs of the Complaint as if set out here in

full.

        180.   Under the Fourteenth Amendment, Plaintiff had the right as a public

university student to personal security, bodily integrity, and Equal Protection of Laws.

        181.   Defendant Tiller sexually harassed Plaintiff while he was a state actor acting

in his individual capacity, under the color of state law.




                                              38
            Case 5:22-cv-00625-R Document 1 Filed 07/25/22 Page 39 of 51




       182.    Defendant Tiller subjected Plaintiff to sexual harassment and unwanted

sexual contact that was so severe and objectively offensive that it violated Plaintiff’s

constitutional rights.

       183.    The physical and verbal conduct by Defendant Tiller was of a sexual nature

and was unwelcomed. His acts were also sufficiently severe or pervasive, from both a

subjective and objective viewpoint, such that the conduct had the purpose or effect of

unreasonably interfering with Plaintiff’s work or academic performance, or creating an

intimidating, hostile, or offensive environment for working, learning, or living.

       184.    The physical and verbal conduct by Defendant Tiller was of a sexual nature

and was unwelcomed. His acts were also sufficiently severe or pervasive, from both a

subjective and objective viewpoint, such that the conduct had the purpose or effect of

unreasonably interfering with Plaintiff’s work or academic performance or creating an

intimidating, hostile, or offensive environment for working or learning.

       185.    The environment created from the conduct of Defendant Tiller was hostile,

based on the circumstances, including but not limited to the frequency of the conduct, the

nature and severity of the conduct, the relationship between the parties, the location and

context in which the conduct occurred, and the physically threatening and humiliating

nature of the conduct.

       186.    The environment resulting from Defendant Tiller’s conduct also constituted

a hostile environment, in that:

       a.      After the occurrence, Plaintiff was subjected to verbal and physical sexual

harassment within the Department of Clinical Pastoral Education that was so severe,


                                            39
            Case 5:22-cv-00625-R Document 1 Filed 07/25/22 Page 40 of 51




pervasive and objectively offensive that she was denied access to educational opportunities

and benefits.

       b.       For Plaintiff, the University of Oklahoma became a sexually hostile

environment where her harasser was still at the campus facility and teaching within the

Department of Clinical Pastoral Education.

       c.       As a result to the hostile environment Plaintiff was denied educational

opportunities and was forced to forfeit her investment monetarily and academically after

the incidents complained of herein.

       d.       Plaintiff encountered complications in the Department of Pastoral Education

directly stemming from both the conduct and authority over her by Defendant Tiller.

       e.       Plaintiff’s office was in close proximity to Defendant Tiller such that

Plaintiff was forced to take precautions to avoid coming in contact with Defendant Tiller.

       f.       The investigation which ensued weighed heavily upon Plaintiff and became

a rationale for Defendant Tiller’s decision to not permit Plaintiff either in -class sessions

or the continuance of individual educational sessions. All of these efforts tended to

interfere with Plaintiff’s academic performance.

       187.     Defendant Tiller’s conduct, as described herein, violated Plaintiff’s clearly

established constitutional rights of which a reasonable person would have known.

       188.     Defendant Tiller’s conduct, as described herein, was malicious, oppressive,

or in reckless disregard of Plaintiff’s rights such that punitive damages are appropriate.

       189.     As a result of the foregoing, Plaintiff suffered extensive damages for which

monetary compensation is due.


                                              40
          Case 5:22-cv-00625-R Document 1 Filed 07/25/22 Page 41 of 51




                            NINTH CLAIM FOR RELIEF
             (Against the University Of Oklahoma and OU Medicine, Inc.)
    [Deliberate Indifference Resulting A Racially Hostile Educational Environment]
                               (In Violation of Title VI)

        190.   Plaintiff re-alleges each and every prior paragraph of the Complaint as if fully

set out here and further alleges as follows.

        191.   At all relevant times, the University of Oklahoma received federal funding

and assistance.

        192.   Plaintiff was one of the intended beneficiaries of the federal funds provided

to the University of Oklahoma.

        193.   Plaintiff was subjected to a racially hostile educational environment prior to

February 4, 2021, that was so severe, pervasive, and/or objectively offensive that it

deprived her of access to educational opportunities and benefits.

        194.   The racially hostile educational environment was fueled, open, and promoted

by Defendant Tiller while he was a professor and an employee of the University of

Oklahoma.

        195.   Defendant Tiller has engaged in a pattern of making racially explicit

statements about African Americans, demeaning African Americans, and freely exhibiting

his bigoted views of African Americans, both directly to Plaintiff and to his students as

well.

        196.   The University of Oklahoma had previously received several complaints

from students that revealed substantiated instances where Defendant Tiller engaged in the




                                               41
          Case 5:22-cv-00625-R Document 1 Filed 07/25/22 Page 42 of 51




racially charged animus towards African Americans, or similar forms of racial

discrimination and misconduct as complained of here by Plaintiff.

       197.   Given that Defendant Tiller openly expressed his racial views, exhorted

racial inferiority of African Americans in the classroom, and freely displayed his racially

charged views, there was no doubt as to his intent or the nature of his racial animus.

       198.   On several occasions while Plaintiff was in one-on-one sessions with

Defendant Tiller, she was directly subjected to the hostile racial environment perpetuated

by Defendant Tiller.

       199.   The racial prejudice and stereotyping by Defendant Tiller have operated to

deprive Plaintiff of the educational benefits to which she would be entitled and which she

would be expected to receive in an environment free from racial animus.

       200.   On information and belief, the racially hostile educational environment in

which Defendant Tiller served to foster, and the University of Oklahoma’s acquiescence

in allowing such an environment to be maintained, violated applicable school policies of

the University of Oklahoma.

       201.   The University of Oklahoma’s response to previous reports regarding

Defendant Tiller’s conduct in fostering a racially hostile educational environment was

deliberately indifferent, insofar as the response or lack thereof was clearly unreasonable in

light of the known circumstances.

       202.   Prior to February 4, 2021, the University of Oklahoma had notice of the

racially hostile educational environment within the Department of Clinical Pastoral

Education.


                                             42
          Case 5:22-cv-00625-R Document 1 Filed 07/25/22 Page 43 of 51




       203.     Prior to February 4, 2021, the University of Oklahoma had notice of

allegations of prior acts and conduct of Defendant Tiller in creating and promoting a

racially hostile educational environment.

       204.     The standard for deliberate indifference in matters of a racially hostile

educational environment has been recognized by prior case law in this circuit. See, Murrell

v. School Dist. No. 1. Denver, Colo., 186 F.3d 1238 (10th Cir. 1999).

       205.     Prior to February 4, 2021, the University of Oklahoma was deliberately

indifferent to the racially hostile educational environment within the Department of

Clinical Pastoral Education and its deliberate indifference was clearly unreasonable.

       206.     The sort of unchecked racially hostile educational environment which

Defendant Tiller fostered, and the University of Oklahoma’s allowance that it fester for

years, demonstrates that the University of Oklahoma is utterly failing in its mandate to

provide a nondiscriminatory educational environment.

       207.     As a result of the foregoing allegations, Plaintiff, Crystal M. Daniels,

suffered extensive damage, injury and distress for which she should be compensated in an

amount in excess of Three Hundred Thousand Dollars ($300,000.00).

                             TENTH CLAIM FOR RELIEF
              (Against the University Of Oklahoma and OU Medicine, Inc.)
                                   [Unlawful Retaliation]
  (In Violation of Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e, et seq.,)

       208.     Plaintiff re-alleges each and every prior paragraph of the Complaint as if fully

set out here.




                                               43
         Case 5:22-cv-00625-R Document 1 Filed 07/25/22 Page 44 of 51




       209.   Almost immediately after Plaintiff made out her complaints regarding the

acts and conduct of Defendant Tiller in connection with his various forms of discrimination,

she was subjected to various forms or retaliation by Defendant Tiller, all of which was

ultimately sanctioned by the University of Oklahoma.

       210.   For example, in her first one-on-one session with Defendant Tiller, she was

confronted by him to explain and justify why she had filed the complaint. During that

session, Defendant Tiller was angry, he intentionally belittled Plaintiff, and made

outrageous statements about her competency, all with the objective of venting his outrage

that she’d made a complaint against him.

       211.   Shortly following that session, Defendant Tiller banned Plaintiff from his

class and from any future in-person interviews that Plaintiff needed to complete her CPE

coursework and studies. Indeed, it was not long after having filed her complaint against

Defendant Tiller that it was obvious that the University of Oklahoma had made it

impossible for her to graduate.

       212.   Such retaliation was directly related to Plaintiff having pursued her protected

right of seeking a remedy from discrimination.

       213.   Defendant Tiller’s, and thereby, the University of Oklahoma’s retaliation

against Plaintiff for seeking her protected rights, was unlawful and in violation of Title

VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e, et seq., as amended.

       214.   The acts and conduct of Defendant Tiller, and thereby the acts and conduct

of the University of Oklahoma were intentional, willful and in reckless disregard of




                                             44
          Case 5:22-cv-00625-R Document 1 Filed 07/25/22 Page 45 of 51




Plaintiff’s rights as protected by the Title VII of the Civil Rights Act of 1964, 42 U.S.C. §

2000e, et seq., as amended.

       215.     Due to Defendant Tiller’s unlawful acts and conduct, and the failure of the

University of Oklahoma to intervene in order to arrest such conduct, Plaintiff has suffered

harm and thus is entitled to damages.

       216.     As a result of the foregoing, Plaintiff has suffered extensive damages which

entitle her to monetary relief.

                          ELEVENTH CLAIM FOR RELIEF
              (Against the University Of Oklahoma and OU Medicine, Inc.)
                                  [Constructive Discharge]
  (In Violation of Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e, et seq.,)

       217.     Plaintiff re-alleges each and every prior paragraph of the Complaint as if fully

set out here.

       218.     Following Defendant Tiller’s decision to ban Plaintiff from participating in

either his in-person classes or the required one-on-one sessions, which were necessary for

Plaintiff to complete the CPE hours for the Third Unit, Plaintiff was left struggling to find

a substitute Educator or other means of remaining in class.

       219.     She reached out to supervisors and other staff at the Department of Clinical

Pastoral Education, but was unsuccessful at every turn. The door appeared closed and she

didn’t have any key that fit the lock.

       220.     Notwithstanding that she was barred from the academic side of her Pastoral

Residency, Plaintiff was still obligated to the clinical side. She remained committed to

those patients for whom she cared, and wanted to continue providing the kind of relief that



                                               45
            Case 5:22-cv-00625-R Document 1 Filed 07/25/22 Page 46 of 51




she had been giving them over the past several months.

       221.    Yet, the events of what had occurred since her internship, throughout her

classroom setting, and the one-on-one settings with Defendant Tiller, were taking its toll

on her physically, mentally and emotionally.

       222.    The stress and anxiety of not knowing if she’d ever get back in class to

complete her CPE, and the events concerning Defendant Tiller, collided with her own

reality that she had no control over the situations that she faced. Not only was her

educational goals upended, but her life was in limbo. These circumstances, combined with

her twelve-hour shifts in providing pastoral care to patients in crisis mode, proved too much

to handle. She sought medical attention in order to cope with the totality of events as they

piled up.

       223.    Plaintiff feared for her own well-being, and was also concerned that the

environment at the University of Oklahoma could likely cause her to make improper

decision while on the job. Her personal anxiety, and the need to be mindful of her patients

called for a tough decision.

       224.    Accordingly, with a sad heart and regret, on May 21, 2021, Plaintiff tendered

her resignation from the OU CPE Chaplaincy Residency program, which by association,

included her employment with OU Medicine, Inc.

       225.    Plaintiff’s constructive discharge occurred under the circumstances that gave

rise to the discrimination which she had previously complained and asserted on account of

membership in a protected class.

       226.    Plaintiff’s resignation occurred under circumstances where the University of


                                             46
             Case 5:22-cv-00625-R Document 1 Filed 07/25/22 Page 47 of 51




Oklahoma had intentionally created and allowed to exist, and an intolerable work

atmosphere that forced her resignation.

           227.   As a result of the foregoing, Plaintiff has suffered extensive damages which

entitle her to monetary relief.

                             TWELFTH CLAIM FOR RELIEF
                        (Against Darryl Tiller In His Individual Capacity)
                                          [Negligence]

           228.   Plaintiff re-alleges all prior paragraphs of the Complaint as if set out here.

in full.

           229.   Attached as Exhibit No. 4 to Plaintiff’s Complaint is the Investigators’

Report of the matters involved with Plaintiff’s interaction with Defendant Tiller and some

of the allegations and complaints alleged herein.

           230.   During the course of the investigation by the ACPE, the investigators had the

opportunity to meet and interview Defendant Tiller, for purposes of obtaining information

from him about the allegations, and observing both his response and behavior.

           231.   The Investigators’ Report found that Defendant Tiller didn’t take the claims

made by Plaintiff seriously and viewed the entire circumstance as being an “irritant.” It

further observed that Defendant Tiller “did not seem to empathize with Plaintiff’s trauma

experience.”

           232.   During the course of Plaintiff’ academic and work performance at the

University of Oklahoma, and particularly with her one-on-one interview sessions with

Defendant Tiller, he had a duty to exercise due care and caution for her mental and




                                                 47
            Case 5:22-cv-00625-R Document 1 Filed 07/25/22 Page 48 of 51




emotional safety. That duty was perhaps more acute due to the spiritual, religious and

moral nature of the party’s environment and Defendant Tiller’s standing.

       233.    Notwithstanding the aforesaid duty, Defendant Tiller was guilty of one or

more of the following negligent and/or reckless acts or omissions:

       a.      Failed to exercise caution towards Plaintiff.

       b.      Failed to exercise due care in his physical interactions with Plaintiff;

       c.      Because of his lack of self-discipline, engaged in sexual misconduct that

included, but was not limited to, unwanted touching of Plaintiff by insisting on close

quarter hugging without consent;

       d.      Because of his lack of self-discipline, made sexual advances and continued

to make sexually charged statements to Plaintiff.

       234.    As a result of one or more of the foregoing negligent acts or omissions,

Plaintiff repeatedly suffered bodily harm by Defendant Tiller.

       235.    As a direct and proximate result of one or more of the aforesaid negligent

acts and/or omissions of Defendant Tiller, Plaintiff has had her life negatively altered, her

academic life and standing disrupted, and has personally suffered emotional and

psychological distress, all as a direct and proximate result of Defendant Tiller’s negligence.

       236.    Plaintiff has lost great gains that would have otherwise been made and

acquired, will in the future be impacted by lost gains she would have made and acquired,

and has and continues to be impaired from going about her daily affairs, all as a result of

Defendant Tiller’s damage.




                                              48
                 Case 5:22-cv-00625-R Document 1 Filed 07/25/22 Page 49 of 51




           237.     As a result of the foregoing, Plaintiff suffered extensive damages for which

monetary compensation is due.

           238.     Plaintiff reserves the right to seek punitive damages as may be appropriate.

                              THIRTEENTH CLAIM FOR RELIEF
                          (Against Darryl Tiller In His Individual Capacity)
                            [Intentional Infliction Of Emotional Distress]

           239.     Plaintiff re-alleges all prior paragraphs of the Complaint as if set out here.

in full.

           240.     As described above, Defendant Tiller’s actions were extreme and outrageous.

Defendant’s acts were intentional and/or reckless.

           241.     Defendant Tiller’s acts and conduct caused Plaintiff severe emotional

distress.

           242.     The acts by Defendant Tiller exceeded all bounds typically tolerated in a

decent society, and caused Plaintiff serious physical, financial, emotional and mental

distress and trauma.

           243.     As a result of the foregoing, Plaintiff suffered extensive damages for which

monetary compensation is due.

                                       PRAYER FOR RELIEF

           WHEREFORE, Plaintiff respectfully demands judgment against Defendants, and

each of them, and seeks from the Court the following relief:

           (a)      Damages in amounts to be established at trial, including, without limitation,

reimbursement and prepayment for all of Plaintiff’s tuition and related expenses; payment

of Plaintiff’s expenses incurred as a consequence of the sexual harassment; damages for


                                                   49
                Case 5:22-cv-00625-R Document 1 Filed 07/25/22 Page 50 of 51




deprivation of equal access to the educational benefits and opportunities provided by the

University of Oklahoma; damages for past, present and future emotional pain and suffering,

ongoing and severe mental anguish, loss of past, present and future enjoyment of life, past,

present, and future medical expenses, and lost earnings and earning capacity;

          (b)      attorney fees and costs;

          (c)      Other Compensatory Damages;

          (d)      Punitive damages as may be allowable;

          (e)      Injunctive relief as this Court deems necessary and proper;

          (f)      A declaratory judgment that Defendants violated Plaintiff’s Constitutional

rights;

          (g)      That this Court Order the University of Oklahoma to provide mandatory

training for all employees within the Department of Clinical Pastoral Education to include

principles of respecting human and civil rights; sex abuse and sexual aggression;

          (h)      That the University of be ordered to create a system of reporting sexual

misconduct that is less intimidating for the most vulnerable members of the community,

including students, untenured faculty, and junior faculty, and

          (i)      such other and further relief as may be available in law and equity.




                                                 50
      Case 5:22-cv-00625-R Document 1 Filed 07/25/22 Page 51 of 51




                           Respectfully submitted,



                           s/Kwame T. Mumina
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JURY TRIAL DEMAND




                                   51
